
PER CURIAM.
This direct criminal appeal was brought pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967). Having reviewed the briefs, we agree that no reversible error occurred. We therefore affirm the appellant’s revocation of probation and imposition of the judgment and sentence. Because the record does not contain a written order of revocation of probation, we remand for the trial court to enter such an order, consistent with its oral pronouncement. See Walker v. State, 686 So.2d 758 (Fla. 1st DCA 1997). The appellant need not be present.
AFFIRMED.
VAN NORTWICK, LEWIS and HAWKES, JJ., concur.
